                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                                3:12cv766
                              [ 3:01cr31-10]

DARIUS FREDRICKO DRUMMER,                         )
                                                  )
                     Petitioner,                  )
                                                  )
Vs.                                               )                   ORDER
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                 Respondent.                      )
_______________________________                   )

       THIS MATTER is before the court on petitioner’s counseled motion for relief

under United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (#3). The court has

considered the pending motion and the government’s timely response, in which it waives

the statute of limitation and concedes that petitioner is entitled to vacation of his Section

922(g) conviction and is further entitled to be resentenced as to Count Four.

       The court finds that petitioner has raised a pure Simmons claim challenging his 18

U.S.C. § 922(g) conviction in Count Seven in the underlying criminal case. Petitioner

asserts actual innocence as such conviction was purportedly predicated on a now

non-qualifying North Carolina offense.       The government has waived the statute of

limitations that would have otherwise been applicable under Section 2255(f) and

conceded that petitioner is actually innocent of such offense. Based on such concessions

as well as the court’s independent review, the court concurs and will vacate the


                                            -1-



      Case 3:01-cr-00031-MOC         Document 587      Filed 04/26/13     Page 1 of 4
conviction as to Count Seven.

       As to Count Four, petitioner has raised a 21 U.S.C. § 841(b) sentencing

enhancement claim under Simmons, in which he contends that he received a sentencing

enhancement based on a now non-qualifying North Carolina offense, to wit, that

petitioner received an enhanced minimum sentence under 21 U.S.C. § 841(b)(1)(a). The

government concedes that defendant’s sentence was improperly enhanced and requests

that defendant be resentenced. After independent review, the court concurs. In Hicks v.

Oklahoma, 447 U.S. 343, 346 (1980), the Supreme Court held that depriving a sentencing

court of discretion under an erroneously applied statutory minimum violates the Due

Process Clause. Id. at 346 (recognizing a due process violation where an Oklahoma jury

was erroneously instructed that it had to impose a mandatory prison term in accordance

with a statute that was declared unconstitutional). Further, in Townsend v. Burke, 334

U.S. 736 (1948), the Supreme Court held that it violates a criminal defendant's right to

due process to sentence the defendant “on the basis of assumptions concerning his

criminal record which were materially untrue.” Id. at 741. Thus, petitioner has stated a

cognizable claim that his “sentence was imposed in violation of the Constitution,” 28

U.S.C. §2255(a), and he is therefore entitled to relief he seeks. The court will, therefore,

vacate the sentence imposed as to Count Four.

       The court has now considered resentencing. According to the Supplement to

Presentence Report filed August 20, 2012 in the underlying criminal action (in

conjunction with review under Crack II), petitioner was sentenced to 160 months on

                                           -2-



      Case 3:01-cr-00031-MOC        Document 587       Filed 04/26/13    Page 2 of 4
Count Four, based on an enhancement of the mandatory minimum to 240 months due to

petitioner’s prior, purportedly now non-qualifying, state drug offense.1                      Petitioner

received a concurrent term of imprisonment of 160 months on Count Seven (the felon-in-

possession conviction he challenges under Simmons), and he received a consecutive

sentence of 80 months on Count Three (a § 924(c) violation), for a total sentence of 240

months. As discussed in the Screening Order, it appears that defendant may be entitled to

immediate release or a time-served sentence.                 The court will, therefore, expedite

resentencing.



                                               ORDER

        IT IS, THEREFORE, ORDERED that the petitioner’s motion for relief under

United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (#3) is GRANTED, the

sentence imposed as to Count Four in 3:01cr31-10 is VACATED, the conviction

imposed as to Count Seven in 3:01cr31-10 is VACATED, and the court will resentence

defendant as to Count Four.



        The Clerk of Court is instructed to place 3:01cr31-10 on for resentencing May 6,

2013, at 2 p.m. Pretrial services shall prepare an expedited confidential recommendation

by Friday, May 3, 2013.

        1
                The sentencing court varied downward from the enhanced mandatory minimum of 240 months
based on a § 5K1.1 motion filed by the government.


                                                  -3-



       Case 3:01-cr-00031-MOC             Document 587         Filed 04/26/13       Page 3 of 4
Signed: April 26, 2013




                              -4-



Case 3:01-cr-00031-MOC   Document 587   Filed 04/26/13   Page 4 of 4
